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Idaho, lnc.

UNITED STATES DISTRICT COURT

FOR THE DISRICT OF IDAHO

PAUL VINCI, an individual,
Plaintiff,
vs.
REGENCE BLUE SHIELD OF IDAHO,
IXNC., AND JOHN and JANE DOES I through

Defendants.

 

 

Case No. 1 :18»0V~00418~REB
ANSWER TO COMPLAINT

COMES NOW defendant Regence Biue Shield of Idaho, Inc. (“Regence”), by and

through its counsel of record, Hawley Troxell Ennis & Hawley LLP, and hereby answers the

Plaintiff’s Complaint as follows:

ANSWER TO COMPLAINT - l

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FIRST DEFENSE

Plaintiffs’ Complaint fails to state a claim upon Which relief can be granted.

SECOND DEFENSE AND ANSWER

I.
PARTIES, JURISDICTION, AND VENUE

l. Answering paragraph 1, Regence lacks sufficient knowledge to admit or deny the
allegations in paragraph l and therefore denies the Same.

2. Answering paragraph 2, Regence only admits that it is an ldaho corporation with
its principal business address in Portland, Oregon, that it is duly licensed to conduct insurance
related business in Idaho, and that its registered agent for service of process is Corporation
Service Company.

3. Answering paragraph 3, Regence lacks sufficient knowledge to admit or deny the
allegations in paragraph 3 and therefore denies the same.

4. Answering paragraph 4 of Plaintiff’s Complaint, Regence only admits that the
amount in controversy pled by Plaintiff exceeds $10,000, the remainder of the allegations in
paragraph 4 state legal conclusions to which no response is required

5. Answering paragraph 5 of Plaintiff` s Complaint, Regence asserts that the
allegations set forth therein state a legal conclusion to which no response is required.

6. Answerirrg paragraph 5 of Plaintiff’s Complaint, Regence only admits that it

received proper service of process of the Plaintiff’s Complaint.

ANSWER TO COMPLAINT - 2
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II.
FACTUAL ALLEGATIONS COMl\/ION TO ALL CAUSES OF ACTION

7. Answering paragraph 7, Regence realleges and incorporates herein by reference
its answers to paragraphs 1 through 6 of Plaintiff’s Complaint.

8. Answering paragraph 8, Regence only admits that Plaintiff’s health insurance is
through a group plan with Group Number 60017'706; that Plaintifr‘ s ID number under said plan
is XNE130197176; that the claim at issue is referenced by number E41534213800; and that
Regence contracted with Plaintiff’ s employer, Rehab Authority, LLC, to insure said plan.
Except as expressly admitted, Regence lacks sufficient knowledge to admit or deny the
remaining allegations in paragraph 8 and therefore denies the same.

9. Answering paragraph 9, Regence admits the allegations in paragraph 9.

10. Answering paragraph 10, Regence lacks sufficient knowledge to admit or deny
the allegations in paragraph 10 and therefore denies the same.

11. Answering paragraph 1 i, Regence lacks sufficient knowledge to admit or deny
the allegations in paragraph 11 and therefore denies the same.

12. Answering paragraph 12, Regence lacks sufficient knowledge to admit or deny
the allegations in paragraph 12 and therefore denies the same.

13. Answering paragraph 13, Regence denies that Plaintiff required emergent
transport to the University of Utah Hospital. As to the remainder of the allegations in paragraph
13, Regence lacks sufficient knowledge to admit or deny the allegations in paragraph 13 and
therefore denies the same.

14. Answering paragraph 14 of Plaintiff’s Complaint, Regence denies the allegations

set forth therein

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15. Answering paragraph 15, Regence only admits that Plaintiff was in stable
condition prior to being transported by Life Fiight Network to University of Utah Hospital.
Regence lacks sufficient knowledge to admit or deny the remaining allegations in paragraph 15
and therefore denies the same.

16. Answering paragraph 16, Regence admits that certain medical records exist,
which documents speak for themselves Regence also admits that Plaintiff submitted a letter
from Dr. Tracy Morgan dated February 21, 2018, that opines on Plaintiff" s condition and which
document speaks for itself Regence denies the remainder of the allegations set forth therein

17. Answering paragraph 17 of Plaintiff’s Complaint, Regence only admits that Life
Flight NetWork submitted a claim to Regence in the amount of $56,804.00. Regence denies the
remaining allegations set forth therein.

18. Answering paragraph 18 of Plaintiff’ s Coinplaint, Regence admits that on
Septernber 7, 2017, Regence sent a letter to Plaintiff notifying Plaintiff of its decision regarding
the claim submitted by Life Flight Network, which document speaks for itself

19. Answering paragraph 19 of Plaintiff’S Complaint, Regence admits that Plaintiff
appealed the initial determination and that Plaintiff’ s submitted a letter from Dr. Tracy Morgan
dated February 21, 20l8, that opines on Plaintiffs condition and Which document speaks for
itself. Regence also admits that the Life Flight Network submitted documentation, which
documentation speaks for itself. Regence admits that it denied Plaintiff’ s first appeal and that a
subsequent appeal was denied for failure to timely appeal. Regence denies the remaining

allegations set forth therein.

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20. Answering paragraph 20 of Plaintiff’ s Cornplaint, Regence asserts that the
allegations set forth therein state a legal conclusion to which no response is required To the
extent any response is required Regence denies the allegations set forth therein.

21. Answering paragraph 21 of Plaintiffs Complaint, Regence asserts that the
allegations set forth therein state a legal conclusion to which no response is required To the
extent any response is required, Regence denies the allegations set forth therein

22. Answering paragraph 22 of Plaintiff’ s Complaint, Regence denies the allegations
set forth therein.

23. Answering paragraph 23 of Plaintiff` s Complaint, denies the allegations set forth
therein.

24. Answering paragraph 24 of Plaintiff’ s Complaint, Regence asserts that the
allegations set forth therein state a legal conclusion to which no response is required To the
extent any response is required Regence denies the allegations set forth therein.

25 . Answering paragraph 25 of Plaintiffs Complaint, Regence denies the allegations

set forth therein.
III.
FIRST CUASE OF ACTION
(BREACH ()F INSURANCE CONTRACT)
26. Answering paragraph 26, Regence realleges and incorporates herein by reference

its answers to paragraphs l through 26 of Plaintiff’s Complaint.
27. Answering paragraph 27 of Plaintifi’ s Complaint, Regence asserts that the
allegations set forth therein state a legal conclusion to which no response is required 'l`o the

extent any response is required, Regence denies the allegations set forth therein.

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28. Answering paragraph 28 of Plaintiff’s Complaint, denies the allegations set forth
therein.

29. Answering paragraph 29 of Plaintiff’ s Complaint, Regence denies the allegations
set forth therein.

30. Answering paragraph 30 of Plaintiff’s Complaint, Regence denies the allegations
set forth therein.

IV.
SECOND CUASE OF ACTION
(BREACH OF IMPLIED COVENANT GF GOOD FAITH AND FAIR DEALING IN AN
INSURANCE CONTRACT)

31. Answering paragraph 31, Regence realleges and incorporates herein by reference
its answers to paragraphs 1 through 30 of Plaintiff"s Cornplaint.

32. Answering paragraph 32 of Plaintifi’ s Complaint, Regence asserts that the
allegations set forth therein state a legal conclusion to which no response is required To the
extent any response is required, Regence denies the allegations set forth therein.

33. Answering paragraph 33 of Plaintiff’s Complaint, Regence denies the allegations
set forth therein.

34. Answering paragraph 34 of Plaintiff’s Complaint, Regence denies the allegations
set forth therein.

35. Answering paragraph 35 of Plaintiff’s Complaint, Regence denies the allegations
set forth therein.

36. Answering paragraph 36 of Plaintiff’ s Complaint, Regence denies the allegations

set forth therein

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THIRD CUA§lE OF ACTION
(TORT OF BAD FAITH)

37. Answering paragraph 37, Regence realleges and incorporates herein by reference
its answers to paragraphs 1 through 36 of Plaintiff’ s Complaint.

38. Answering paragraph 38 of Plaintiff’ s Complaint, Regence denies the allegations
set forth therein.

39. Answering paragraph 39 of Plaintiff’s Complaint, Regence denies the allegations
set forth therein.

40. Answering paragraph 40 of Plaintiff s Complaint, denies the allegations set forth
therein.

41. Answering paragraph 41 of Plaintiff’ s Complaint, Regence denies the allegations
set forth therein

42. Answering paragraph 42 of Plaintiff s Complaint, Regence denies the allegations

set forth therein.

VIO
PUNITIVE DAMAGES

43. Answering paragraph 43 of Plaintiff’ s Complaint, Regence denies that Plaintiff
has any right to punitive damages or that Plaintiff can establish the necessary proof required to
amend his complaint to assert a prayer for relief for punitive damages pursuant to idaho Code
§6-1604.

PRAYER FOR RELIEF
Regence denies that Plaintiff is entitled to any of the relief for which he prays in his

Complaint.

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DEMAND FOR JURY TRIAL

Regence denies that Plaintiff is entitled to a jury trial and this demand for jury trial must
be stricken from Plaintiff" s Complaint. There is no statutory or constitutional right to a jury trial
in ERISA benefit cases such as this.

AFFIRMATIVE DEFENSES

Regence, in asserting the following defenses, does not admit that the burden of proving
the allegations or denials contained in the defenses is upon Regence but, to the contrary, assert
that by reason of denials and by reason of relevant statutory and judicial authority, the burden of
proving the facts relevant to many of the defenses and the burden of proving the inverse of the
allegations contained in many of the defenses are upon Plaintiff Moreover, Regence does not
admit, in asserting any defense, any responsibility or liability on their part but, to the contrary,
specifically deny any and all allegations of responsibility and liability contained in the
Complaint. Furthermore, Regence reserves the right to seek amendment of this Answer to
Complaint in the event discovery reveals the existence of any further affirmative defenses

THIRD DEFENSE

Plaintiff`s claims against Regence are barred in whole or in part by the doctrines of

estoppel, latches, waiver, release or consent.

FOURTH DEFENSE
Plaintiff’s claims and causes of action are preempted by the Employee Retirement

lncome Security Act and should be dismissed

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FIFTH I)EFENSE

Plaintiff’s claims are subject to the terms and conditions of the applicable benefit plan,
including applicable exclusions and/or limitations, including without limitation Medically
Necessary/Medical Necessity exclusion

SIXTH DEFENSE

Plaintiff’ s claims are barred for failure to exhaust his remedies under the applicable

benefit plan or otherwise failed to perform his contractual obligations under said plan.

SEVENTH DEFENSE

To the extent that Plaintiff has received compensation from collateral sources for the
damages of which he complains, Plaintiff is barred from recovery of such sums from Regence.

EIGHTH DEFENSE

Plaintiffs had, and continue to have, the ability and opportunity to mitigate the damages
alleged With respect to the subject matter of this action, and have failed to mitigate said damages,
if any were in fact incurred

NINTH DEFENSE

At all times material hereto, Regence acted in good faith in the manner in which is

processed and handled the claim that is the subject of this lawsuit.
TENTH DEFENSE

Regence followed and discharged its contractual obligations under the applicable benefit

plan.
ELEVENTH DEFENSE

Plaintiff’s claims are barred in whole or part since Regence complied with all applicable

laws, statutes, contracts and standards of care.

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TWELVFTH DEFENSE
Regence did not unreasonably delay or deny a valid claim made by Plaintiff under the
applicable benefit plan.
THIRTEENTH DEFENSE
Discovery that is yet to commence may disclose the existence of further and additional
defenses Regence, therefore, reserves the right to seek leave of this Court to amend its answer if
Regence deems appropriate

FOURTEENTH DEFENSE

Regence has been required to retain the services of counsel to defend against the
allegations in Plaintiffs’ Complaint, and is therefore entitled to costs and attorneys’ fees pursuant
to 29 U.S.C. § 1132(g) and any other applicable law.

PRAYER FOR RELIEF

WHEREFORE, Regence prays for relief as follows:

A. That Plaintiffs’ Complaint be dismissed with prejudice, and that Plaintiffs take
nothing by virtue of filing that document;

B. For all costs and attorney fees pursuant to all applicable including, but not limited
to, 29 U.S.C. § 1132(g);

C. That Plaintiff s Demand for Jury Tr'ial be stricken; and

D. F or such other and further relief as the Court deems just and equitable.

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Jame . Martin, ISB No. 4226
A rneys for Defendant Regence Blue Shield of
aho, lnc.

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CERTIFICATE OF SERVICE

IHEREBY CERTIFY that on this M October, 2018, l electronically filed the
foregoing ANSWER TO COMPLAINT Wi h the Clerk of the Court using the CM/ECF system
which sent a Notice of Electronic Filing to the following persons:

Chip Giles chip@gtidaholaw.com

John Christopher Hughes john@erisalawgroup.com

AND, l HEREBY CERTIFY that l have served the foregoing document to the following
non-CM/ECF Registered Participants (list names and addresses):

M//’“

J ames ./Martin

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